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                 IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                          PINE BLUFF DIVISION

CHARLES E. HAMNER, ADC #143063                                           PLAINTIFF

v.                        NO. 5:17CV00079 JLH/BD

DANNY BURLS, et al.                                                  DEFENDANTS

                           NOTICE OF APPEARANCE

      William C. Bird, Assistant Attorney General, hereby requests the Clerk of

the Court enter his appearance on behalf of Separate Defendants Danny Burls,

Connie Jenkins, Maurice Williams, Steve Outlaw, and Marvin Evans, and hereby

requests copies of all future service and correspondence be sent to William C. Bird,

Assistant Attorney General.

      I hereby certify that I am admitted to practice in this court and respectfully

place the Clerk of the Court and all parties of record on notice of my appearance.

                                              Respectfully submitted,

                                              Leslie Rutledge
                                              Attorney General

                                       By:    /s/ William C. Bird III
                                              Arkansas Bar No. 2005149
                                              Assistant Attorney General
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                                              Little Rock, Arkansas 72201
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                                              william.bird@arkansasag.gov

                                              Attorneys for Separate Defendants
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                          CERTIFICATE OF SERVICE

      I, William C. Bird, Assistant Attorney General, do hereby certify that on
June 30, 2017, I electronically filed the forgoing with the Clerk of the Court using
the CM/ECF system.

     I, William C. Bird, hereby certify that on June 30, 2017, I mailed this
document by U.S. Postal Service to the following non CM/ECF participant:

      Mr. Charles Hamner, ADC #143063
      Varner Supermax
      Arkansas Department of Correction
      P.O. Box 400
      Grady, Arkansas 71644-0600

                                                   /s/ William C. Bird III
                                                   William C. Bird III




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